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                                                                           (SPACE BELOW FOR FILING STAMP ONLY)
 1
           HARRY M. DRANDELL, #109293
      LAW OFFICES OF HARRY M. DRANDELL
 2             1221 VAN NESS AVENUE, SUITE 450
                  FRESNO, CALIFORNIA 93721
 3                   PHONE (559) 442-8888
                      FAX (559) 442-8891
 4

 5
     ATTORNEYS FOR Defendant, Brandon Thomas
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 8                          IN THE UNITED STATES DISTRICT COURT

 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
                                                 ******
10
     UNITED STATES OF AMERICA,                          CASE NO.: 1:14-CR-00228 LJO SKO
11
                    Plaintiff,                          STIPULATION AND ORDER
12                                                      TO VACATE HEARING DATE
     v.
13
     BRANDON THOMAS,
14
                                                        Date: March 21, 2016
15                  Defendant.                          Time: 1:00 p.m.
                                                        Dept: 7
16

17          Defendant, Brandon Thomas, by and through his attorney, Harry M. Drandell, and the

18   United States of America, by and through its attorney, Grant Rabenn, Assistant U.S. Attorney,
19   hereby stipulate to the following joint request:
20
            That the status conference scheduled for March 21, 2016, be vacated due to the
21
     unavailability of counsel for Mr. Thomas. It is still hoped that the matter will resolve short of
22
     trial, and the parties will schedule a Change of Plea hearing once a resolution has been reached.
23

24
     Dated: March 26, 2014                         By:      /s/ Grant Rabenn
25                                                           GRANT RABENN
                                                            Assistant United States Attorney
26   ///

27   ///
28

                                                        1
   Case 1:14-cr-00228-JLT-SKO Document 238 Filed 03/10/16 Page 2 of 2
 1 Dated: March 26, 2014             By:   /s/ Harry M. Drandell
                                           HARRY M. DRANDELL
                                           Attorney for Defendant,
 2                                         BRANDON THOMAS
 3

 4

 5                                               ORDER
              Pursuant to the parties’ stipulation, the status conference presently set for March 21,
 6
     2016, is hereby VACATED. Trial shall remain as set for May 24, 2016.
 7
     IT IS SO ORDERED.
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 9   Dated:     March 10, 2016                                      /s/ Sheila K. Oberto
                                                           UNITED STATES MAGISTRATE JUDGE
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